        Case 2:10-cr-00284-APG-PAL                        Document 134                  Filed 12/07/11             Page 1 of 1




@
                                       UNITED STATESD ISTRICT C OUR T

                                              DISTRIC T OF NEVA DA

     United StatesofAm erica
                          Plaintiftl
                                                                                       DistrictN o. 2:10-CR-0284-PM m PA L



     Patricl Bascom


                          Defendant.

                               ORDER TEM POQ AQH ,
                                                 Y IJNSEALING TRAN SCR IPT


             On December2nd,2011thiscourtreceivedatranscriptorderform (latedDecember2nd,2011requesting a
    Transcriptofthe SentencingHearingNeldonD ecember1st,2011 from M r.Stephen Spiegelhalter,CollnRelforM s.
    PatriciaBascom,inwhichthehearingissealed.



             IT IS TH E O RDER O F TH E CO URT thatthesealedpoMion oftherecordiagshallbetmsealedbythe
    Clerk forthelimitedpurposeofprovidingatranscriptofhearingasrequested byPlaintifrcounsel.


            IT IS FURTHER ORDERED thatthesealedportion oftherecordingshallthereaherberesealedby the
    ClerkolmtilfizrfberorderofthisCourt.


            IT IS FUR TH ER ORDERED thatPlaintifrColm selshallnotdisclosethesealed contentsofthetranscript
    to anyoneotherthantherepresentativesoftllepartiesdirectly concernedw iththiscmse.


           DA TED this J       dayofDecem ber, 2011.
                                                                               .
                                                                          .
                                                                                .  y
                                                                      -
                                                                     .'                                        z
                                                                   -.                                         '.
                                                                    r.
                                          <r-.-- ..--. - à-
                                                   ....... ....
                                                                          z.7 /9;;7     ... .
                                                                                                .
                                                                                                    ,
                                                                                                        .'.
                                                                                                        .




                                                                  R ' erL     tmt


@                                                                     edSt
                                                                         at
                                                                          esJudge
